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                  IN THE UNITED STATES DISTRICT COURT
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             FOR THE CENTRAL DISTRICT OF CALIFORNIA
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12                                             Case No. 2:06-CR-00514-SVW
      UNITED STATES OF AMERICA,
13                                             ORDER OF DETENTION
                     Plaintiff,
14                                                   R. Crim. P. 32.1(a)(6);
15
                     v.                        ~Fed.
                                                8 U.S.C. § 3143(a)(1)]
      ANTOINE LAVELLE DANIELS,
16
                     Defendant.
17
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20                                            I.
21         On November 2,2021, Defendant Antoine Lavelle Daniels ("Defendant")
22   appeared before the Court for initial appearance on the petition and warrant for
23   revocation of supervised release issued in this matter, Case No. 2:06-CR-00514-
24   SVW. The Court appointed Mark Kassabian of the CJA Panel as counsel for
25   Defendant.
26   ///
27   ///
28   ///
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 1                                                  II.
 2         Pursuant to Federal Rule of Criminal Procedure 32.1(a)(6) and 18 U.S.C.
 3   § 3143(a) following Defendant's arrest for alleged violations) of the terms of
4    Defendant's ❑probation / ~ supervised release, the Court finds that:
 5         A.     ~     Defendant submitted to the Government's Request for
6    Detention;
 7
 g         B.     ~     Defendant has not carried his burden of establishing by clear
 9   and convincing evidence that Defendant will appear for further proceedings as
10   required if released [18 U.S.C. § 3142(b-c)]. This finding is based on:
11         • Minimal bail resources;
12         • Unemployed;
13         • History of substance abuse;
14         • Family ties outside of the district.
15
16         C.     ~     Defendant has not carried his burden of establishing by clear
1~   and convincing evidence that Defendant will not endanger the safety of any other
lg   person or the community if released [18 U.S.C. § 3142(b-c)]. This finding is based
19   on:
20         • Seriousness of the allegations;
21         • Substance abuse history;
22         • History of mental health issues;
23         • Previous parole violations;
24         • Prior association with a street gang.
25   ///
26   ///
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28   ///

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 1                                      III.

 2        IT IS THEREFORE ORDERED that Defendant be detained pending further

 3   proceedings.
4
 5   Dated: November 2, 2021
6
                                                /s/
 7                                         MARIA A. AUDERO
                                       UNITED STATES MAGISTRATE JUDGE
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